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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


                                              )
 JUNE KIM                                     )
                                              )
        Plaintiff,                            )       Civil Action No. 25-cv-00708-LKG
                                              )
 v.                                           )
                                              )
 AMERICAN SOCIETY OF HEALTH-                  )
 SYSTEM PHARMACISTS, INC., et al.,            )
                                              )
        Defendants.                           )

                                              )
 ALEXIS ALBERT, et al.,                       )
                                              )
        Plaintiffs,                           )       Civil Action No. 25-cv-00673-LKG
                                              )
 v.                                           )       Dated: April 1, 2025
                                              )
 AMERICAN SOCIETY OF HEALTH-                  )
 SYSTEM PHARMACISTS, INC., et al.,            )
                                              )
        Defendants.                           )



                      CONSOLIDATION AND SCHEDULING ORDER
       The Plaintiffs in the above-captioned civil matters have filed Notices of Intent to File a
Motion Consolidate and Appoint Interim Class Counsel under Fed. R. Civ. P. 42(a)(2) and 23(g).
See Kim v. American Society of Health-System Pharmacists, Inc., et al., No. 25-cv-00708 (the
“Kim Action”) at ECF No. 16; see Albert v. American Society of Health-System Pharmacists,
Inc., et. al, No. 8:25-cv-00673-LKG (the “Albert Action”) at ECF No. 11. The Plaintiffs
represent that they have conferred with counsel for Defendants American Society of Health-
System Pharmacists, Inc. (“ASHP”), Johns Hopkins Hospital, Allegheny General Hospital,
Queens Health System, the Regents of the University of California (“Regents”), and The
Nemours Foundation regarding the proposed motion and that these Defendants either do not
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oppose or take no position on the proposed motion. See Kim Action at ECF No. 16 at 2; see
Albert Action at ECF No. 11 at 3.
       Pursuant to Fed. R. Civ. P. 42, the Court may consolidate matters that “involve a
common question of law or fact.” Fed. R. Civ. P. 42(a)(2). The Court has broad discretion to
decide whether consolidation under Rule 42(a) is appropriate. A/S J. Ludwig Mowinckles Rederi
v. Tidewater Constr. Corp., 559 F.2d 928, 933 (4th Cir. 1977). In making such a determination,
the Court balances the time and effort saved by consolidating against any inconvenience or
prejudice consolidation would cause the litigants. McCoy v. Biomet Orthopedics, LLC, ELH-12-
1436, ELH-19-607, 2019 WL 6324558, at *5 (D. Md. Nov. 25, 2019).
       The Plaintiffs represent to the Court that the two cases involve common questions of law
and fact. See Kim Action at ECF No. 16 at 1; see Albert Action at ECF No. 11 at 2-3. In this
regard, the Plaintiffs state that each action is brought against Defendant ASHP, Defendant
National Matching Services, Inc. and a consortium of employers of pharmacy residents. Id.
Both matters also assert the same claims under the Sherman Act, 15 U.S.C. § 1, and common
questions of law and fact regarding, among other things: (1) whether the defendants entered into
the alleged agreements, (2) how the matching algorithm operates, (3) whether Plaintiffs and the
proposed Class members were harmed, and (4) the proper method for calculating damages. Id.
(citing Harris v. Biomet Orthopedics, LLC, No. CV ELH-17-747, 2019 WL 6117358, at *8 (D.
Md. Nov. 18, 2019)).
       The Plaintiffs also state in their Notices that consolidation would streamline discovery on
these common legal and factual questions. Id. Lastly, the Plaintiffs assert that consolidation is
appropriate because these matters are in the same early stage of litigation, and no briefing or
discovery has occurred in either case.

       In light of the foregoing, and for good cause show, the Court:

           (1) CONSOLIDATES the following cases pursuant to Fed. R. Civ. P. 42(a)(2): (1)
               Kim v. American Society of Health-System Pharmacists, Inc., et al., No. 25-cv-
               00708; and (2) Albert v. American Society of Health-System Pharmacists, Inc., et.
               al, No. 8:25-cv-00673-LKG;




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  (2) DIRECTS that the parties shall proceed and make all future filings under the lead
     case, Albert v. American Society of Health-System Pharmacists, Inc., et. al, No.
     8:25-cv-00673-LKG;

  (3) HOLDS-IN-ABEYANCE the Plaintiffs’ motion to appoint class counsel,
     pending the briefing of their motion to appoint class counsel; and

  (4) DIRECTS the parties to adhere to the following schedule for the briefing of
     motion to appoint class counsel:

    Plaintiffs’ motion to appoint class counsel        April 25, 2025

   Defendants’ response                                May 9, 2025
   in opposition

    Reply brief.                                       May 16, 2025



IT IS SO ORDERED.



                                          s/ Lydia Kay Griggsby
                                          LYDIA KAY GRIGGSBY
                                          United States District Judge




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